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Plaintiff,
v. Case. No.: 04-20100- l
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DARREN MACKLIN, _ I}TO;I Parppsm"
"1-¢-»\;__ _ ° - DISTRICT JUDGE
Defenclant. ;,;é`,`f`j,;q;:; 'Z.` `

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DATE

REQUEST TO EXTEND SURRENDER DATE

 

COMES NOW, the defendant, Darren Macklin, by and through counsel and
respectfully requests this Honorable Court grant him a 60 day extension on his date to
report to the Federal Bureau of Prisions. The defendant is currently ordered to report on
Septernber 6, 2005. The defendant would show, for good cause, the following;

l. The defendant has not had sufficient time since his sentencing date
to adequately prepare his family and his financial situation for the extensive
period of time that he Will be away serving his sentence.

2. The defendant recently started treatment in a depression clinical
trial (see attached) and, based on the defendant’ s history, this trial should be extremely
beneficial to the defendant and his future mental health.

3. The Assistant United States Attomey, Mr. Steve Parker, has no
objection to the extension of the surrender date for sixty days. He further indicated that

he would be opposed to an extension any further out than sixty days.

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with Flu!e 56 and/or 32(b) FHCrP on j ‘£ § 05

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WI-IEREFORE, PREMISES CONSIDERED, counsel respectiillly requests

that the defendants date to surrender to the Federal Bureau of Prisons be extended for a

sixty day period of time.

Respectfully Submitted:

 

Bill Anderson, Jr. BPR # 10363
Attorney for Defendant

369 N. Main St.

Memphis 'I`N 38103

(901) 527-6561

   

UNITED `SATESDISTRICT COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 220 in
case 2:04-CR-20100 Was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

William C. Anderson
ANDERSON LAW FIRM
369 N. l\/lain St.
l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

